     Case 2:20-cv-07721-SB-RAO Document 21 Filed 01/08/21 Page 1 of 1 Page ID #:92



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                               UNITED STATES DISTRICT COURT
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6                         CENTRAL DISTRICT OF CALIFORNIA
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     MICHAEL RHAMBO,                             Case No.: 2:20-cv-07721-SB-RAO
8
                  Plaintiff,
9
                                                 ORDER TO SHOW CAUSE RE:
10   vs.                                         DISMISSAL
11   WELLS FARGO BANK, NATIONAL
12   ASSOCIATION ET AL,
13                Defendant
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15         The parties filed a notice of settlement on January 7, 2021.
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           IT IS HEREBY ORDERED that the parties are to show cause why the
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     action should not be dismissed with prejudice on March 8, 2021 at 8:30 a.m. If the
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     parties file a proposed order to dismiss the entire action with prejudice by March 1,
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     2021, the OSC shall be taken off calendar without further notice. Otherwise, the
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     parties shall appear at the OSC hearing, and the Court shall set a trial date.
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           IT IS FURTHER ORDERED that all other hearings and deadlines are
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     vacated.
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     DATED: January 8, 2021                      _______________________________
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                                                      Stanley Blumenfeld, Jr.
26                                                   United States District Judge
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